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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 SANOFI-AVENTIS US, LLC,

                Plaintiff,

        v.
                                                         Civil Action No. 24-3496 (DLF)
 ROBERT F. KENNEDY, JR, Secretary of
 Health and Human Services, et al.,

                Defendants.


                                    [PROPOSED] ORDER

       UPON CONSIDERATION of Plaintiff’s motion for summary judgment, Defendants’

opposition and cross motion for summary judgment, and the entire record herein, it is hereby

       ORDERED that Defendants’ motion is GRANTED, and it is further

       ORDERED that Plaintiff’s motion is DENIED, and it is further         ORDERED            that

judgment shall be entered in favor of Defendants and against Plaintiff.



SO ORDERED:



________________                                     ___________________________________
Date                                                 DABNEY L. FRIEDRICH
                                                     United States District Judge
